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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


 MONICA WILLIAMS on behalf of herself and all             Case No.: 19-cv-00868-CFC
 others similarly situated,

                            Plaintiff.                    JOINT STATUS REPORT
 v.

 LIVE WELL FINANCIAL, INC.,                               Next Status Report Due:
                                                          November 1, 2019
                            Defendant.


          Pursuant to the Court’s order of June 28, 2019 [Dkt. No. 10], Monica Williams on behalf

of herself and all others similarly situated (the “Plaintiff”) and Live Well Financial, Inc. (the

“Defendant” or “Debtor”) (together the “Parties”) hereby submit the following joint status report:

          1.     On May 8, 2019, the Plaintiff filed a Class Action Complaint [Dkt. No. 1] in this

Court alleging violations of the Workers Adjustment and Retraining Notification Act (“WARN

Act”), 29 U.S.C. § 2101 et seq., and the California Labor Code § 1400 et seq. (“CAL-WARN

Act”) (the “District Court Action”).

          2.     On June 6, 2019, the Defendant filed an Answer [Dkt. No. 7] to the District Court

Action.

          3.     On June 10, 2019, an involuntary petition was filed against Debtor for relief under

chapter 7 of title 11 of the United States Code in the United States Bankruptcy Court for the District

of Delaware (the “Bankruptcy Court”) [Bankr. Case No. 19-11317-LSS]. A suggestion of

bankruptcy was filed with this Court on June 17, 2019 [Dkt. No. 9]. On July 1, 2019, the

Bankruptcy Court entered the Order for Relief in the Debtor’s bankruptcy case. Also on July 1,

2019, David W. Carickhoff was appointed as the chapter 7 trustee for the Debtor’s bankruptcy

estate.



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        4.      On June 18, 2019, the Plaintiff filed her class action adversary proceeding

complaint for alleged violation of the WARN Act and the CAL-WARN Act against Live Well

Financial, Inc. in the Bankruptcy Court [Adv. Proc. No. 19-ap-50262-LSS] (the “Adversary

Proceeding”).

        5.      Beginning on June 28, 2019, the District Court Action was stayed in light of the

Defendant’s bankruptcy proceeding [District Court Dkt. No. 10]. This Court ordered the parties

to submit a status report on August 1, 2019 and every three months thereafter until the Parties

advise the Court that the stay may be lifted.

        6.      Defendant’s answer/response to Plaintiff’s Complaint in the Adversary Proceeding

currently is due on August 12, 2019 and a Pretrial Conference before the Bankruptcy Court

currently is scheduled for October 10, 2019 [Adv. Proc. Dkt. No. 3].


Dated: August 2, 2019

                                                Respectfully submitted,

                                      By:       /s/ Christopher D. Loizides
                                                Christopher D. Loizides (No. 3968)
                                                LOIZIDES, P.A.
                                                1225 King Street, Suite 800
                                                Wilmington, Delaware 19801
                                                Telephone: (302) 654-0248
                                                Facsimile: (302) 654-0728
                                                E-mail: loizides@loizides.com

                                                Jack A. Raisner (admitted pro hac vice)
                                                René S. Roupinian (admitted pro hac vice)
                                                OUTTEN & GOLDEN LLP
                                                685 Third Avenue, 25th Floor
                                                New York, New York 10017
                                                Tel.: (212) 245-1000
                                                Email: rsr@outtengolden.com
                                                Email: jar@outtengolden.com

                                                Attorneys for Plaintiff and the putative Class

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                              By:   /s/ Alan M. Root
                                    Alan M. Root (No. 5427)
                                    ARCHER & GREINER, P.C.
                                    300 Delaware Avenue, Suite 1100
                                    Wilmington, Delaware 19801
                                    Telephone: (302) 777-4350
                                    Facsimile: (302) 777-4352
                                    Email: aroot@archerlaw.com

                                    Proposed General Bankruptcy Counsel for
                                    David W. Carickhoff, Chapter 7 Trustee




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